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                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

MATISHA SWINDLE,                          )
                                          )
      Plaintiff,                          )
                                          )
vs.                                           Civil Action Number
                                          )
                                               6:16-cv-01269-AKK
SOCIAL SECURITY                           )
ADMINISTRATION,                           )
COMMISSIONER,                             )
                                          )
      Defendant.                          )

                          MEMORANDUM OPINION

      Matisha Swindle brings this action pursuant to Section 205(g) of the Social

Security Act (“the Act”), 42 U.S.C. § 405(g), seeking review of the final adverse

decision of the Commissioner of the Social Security Administration (“SSA”). This

court finds that the Administrative Law Judge (“ALJ”) applied the correct legal

standards and that his decision — which has become the decision of the

Commissioner — is supported by substantial evidence.          Therefore, the court

AFFIRMS the decision denying benefits.

                           I.    PROCEDURAL HISTORY

      Swindle protectively filed her application for Title II Disability Insurance

Benefits on August 1, 2013, alleging a disability onset date of June 15, 2013 due to

bipolar disorder, depression, and a pituitary tumor. (R. 145, 161). After the SSA

denied her application and request for reconsideration, (see R. 74–93), Swindle

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requested a hearing before an ALJ, (R. 94).        The ALJ subsequently denied

Swindle’s claim, (R. 10–27), and the Appeals Council denied review, (R. 3–6),

rendering the ALJ’s opinion the final decision of the Commissioner. Swindle then

filed this action pursuant to § 405(g). Doc. 1.

                            II.   STANDARD OF REVIEW

      The only issues before this court are whether the record contains substantial

evidence to sustain the ALJ’s decision, see § 405(g); Walden v. Schweiker, 672

F.2d 835, 838 (11th Cir. 1982), and whether the ALJ applied the correct legal

standards, see Lamb v. Bowen, 847 F.2d 698, 791 (11th Cir. 1988); Chester v.

Bowen, 792 F.2d 129, 131 (11th Cir. 1986). 42 U.S.C. §§ 405(g) and 1383(c)

mandate that the Commissioner’s “factual findings are conclusive if supported by

‘substantial evidence.’” Martin v. Sullivan, 894 F.2d 1520, 1529 (11th Cir. 1990).

The district court may not reconsider the facts, reevaluate the evidence, or

substitute its judgment for that of the Commissioner; instead, it must review the

final decision as a whole and determine if the decision is “reasonable and

supported by substantial evidence.” See id. (citing Bloodsworth v. Heckler, 703

F.2d 1233, 1239 (11th Cir. 1983)).

      Substantial evidence falls somewhere between a scintilla and a

preponderance of evidence; “[i]t is such relevant evidence as a reasonable person

would accept as adequate to support a conclusion.” Martin, 894 F.2d at 1529


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(quoting Bloodsworth, 703 F.2d at 1239) (other citations omitted). If supported by

substantial evidence, the court must affirm the Commissioner’s factual findings

even if the preponderance of the evidence is against the Commissioner’s findings.

See Martin, 894 F.2d at 1529. While the court acknowledges that judicial review

of the ALJ’s findings is limited in scope, it notes that the review “does not yield

automatic affirmance.” Lamb, 847 F.2d at 701.

            III.   STATUTORY AND REGULATORY FRAMEWORK

      To qualify for disability benefits, a claimant must show “the inability to

engage in any substantial gainful activity by reason of any medically determinable

physical or mental impairment which can be expected to result in death or which

has lasted or can be expected to last for a continuous period of not less than twelve

months.”    42 U.S.C. §§ 423(d)(1)(A), 416(i)(1)(A).        A physical or mental

impairment is “an impairment that results from anatomical, physiological, or

psychological abnormalities which are demonstrated by medically acceptable

clinical and laboratory diagnostic techniques.” 42 U.S.C. § 423(d)(3).

      Determination of disability under the Act requires a five-step analysis. 20

C.F.R. §§ 404.1520(a)–(f). Specifically, the Commissioner must determine, in

sequence:

      (1) whether the claimant is currently unemployed;

      (2) whether the claimant has a severe impairment;


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      (3) whether the impairment meets or equals one listed by the
          Secretary;

      (4) whether the claimant is unable to perform his or her past work; and

      (5) whether the claimant is unable to perform any work in the national
          economy.

McDaniel v. Bowen, 800 F.2d 1026, 1030 (11th Cir. 1986). “An affirmative

answer to any of the above questions leads either to the next question, or, on steps

three and five, to a finding of disability. A negative answer to any question, other

than step three, leads to a determination of ‘not disabled.’” Id. at 1030 (citing 20

C.F.R. §§ 416.920(a)–(f)). “Once the finding is made that a claimant cannot return

to prior work the burden of proof shifts to the Secretary to show other work the

claimant can do.” Foote v. Chater, 67 F.3d 1553, 1559 (11th Cir. 1995) (citation

omitted).

                             IV.   THE ALJ’S DECISION

      In performing the five-step analysis, the ALJ determined that Swindle met

the criteria for Step One, because she had not engaged in any substantial gainful

activity since her alleged onset date in June 2013.      (R. 15).   Next, the ALJ

acknowledged that Swindle’s impairments of affective disorder and anxiety

disorder met the requirements of Step Two. (Id.). The ALJ then proceeded to the

next step and found that Swindle did not satisfy Step Three, because she did “not

have an impairment or combination of impairments that meets or medically equals


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the severity of one of the listed impairments in 20 CFR Part 404, Subpart P,

Appendix 1.” (R. 16) (internal citations omitted).

      In this step, the ALJ determined that the “severity of [Swindle’s] mental

impairments, considered singly and in combination, do not meet or medically equal

the criteria of listings 12.04, 12.06, and 12.09.”        (Id.).   In reaching that

determination, the ALJ considered the paragraph B criteria, but found that Swindle

has only “mild restriction” in activities of daily living, “moderate difficulties” in

social functioning and in concentration, persistence, and pace, and only “one to

two episodes of decompensation, each of extended duration.” (R. 17). The ALJ

also considered the paragraph C criteria, but found against Swindle based on the

absence of repeated episodes of decompensation, diagnosis of any “residual

disease process that would cause decompensation with only minimal increases in

mental demands,” or history of “requiring a highly supportive living environment”

or “display[ing] an inability to function outside of her home.” (R. 18).

      Although the ALJ answered Step Three in the negative, consistent with the

law, see McDaniel, 800 F.2d at 1030, he proceeded to Step Four, where he

determined that, at her date last insured, Swindle had the residual functional

capacity (“RFC”) to “perform a full range of work at all exertional levels,” except

that Swindle

      could be expected to understand, remember, and carry out short,
      simple instructions and tasks; so long as limited to such tasks, [she]
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      would be able to maintain attention and concentration for the 2 hour
      periods necessary for competitive work with customary breaks; [she]
      should avoid work of a production nature where quick decision-
      making, rapid changes, and multiple demands are made; contact with
      the public, coworkers, and supervisors should be occasional or less;
      [she] could handle infrequent and gradual changes in the workplace
      but would need assistance with detailed or long-range goal setting;
      [and she] might miss one to 2 days a month from work due to
      impairment caused symptoms.

(R. 18).

      In light of Swindle’s RFC and the testimony of a vocational expert, the ALJ

determined that Swindle was unable to perform any past relevant work. (R. 21).

The ALJ then proceeded to Step Five where, considering Swindle’s age, education,

work experience, and RFC, he found that jobs “exist in significant numbers in the

national economy that [Swindle] can perform.” (R. 22). Accordingly, the ALJ

concluded that Swindle “has not been under a disability, as defined in the Social

Security Act, from June 15, 2013.” (Id.).

                                   V.       ANALYSIS

      Swindle raises three contentions of error. For the reasons below, the court

rejects each contention and affirms the ALJ’s decision.

      A. The ALJ’s Conclusion that Swindle’s Headaches are not a Severe
         Impairment

      Swindle first contends that the ALJ “did not consider [her] headaches at step

two” and erred in determining that her headaches were “not severe.” Doc. 13 at

10–11. The record belies Swindle’s contentions because the ALJ expressly stated
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that Swindle did not report any “substantial limitations” due to headaches and had

only complained of “infrequent” severe headaches, (R. 15) (citing, e.g., R. 229

(“Historically the more severe headaches associated with confusion are relatively

infrequent. She will often have a more daily chronic, what she describes as ‘stress

headache.’”)), and that Swindle’s headaches are “well-controlled with medication,”

(Id.) (citing, e.g., R. 339, 448 (headache “doing well with Amitipyline 50 mg

QHS”), 457 (headache “[i]mproved with Amitripyline 50 mg QHS”)). In any

event, however, because the ALJ found in Swindle’s favor at Step Two, any error

at that step is not reversible. See Hearn v. Comm’r, SSA, 619 F. App’x 892, 895

(11th Cir. 2015) (“Any error at step two was harmless because the ALJ found in

[the claimant’s] favor as to impairment, and the ALJ properly noted that he

considered [the claimant’s] impairments in later steps.”) (citations omitted). Here,

the ALJ not only considered Swindle’s headaches at Step Two, but also considered

Swindle’s headaches in combination with her other impairments at Step Three.

(See, e.g., R. 17 (“[T]he claimant reported that she does not brush her hair because

of headaches.”) (citing R. 174)). For these reasons, the court finds no reversible

error.

         B. The ALJ’s Alleged Failure to Afford Proper Weight to the Opinions
            of Dr. Alan Blotcky

         Swindle next contends that the ALJ erred in affording “little or no weight” to

the opinions of Dr. Alan Blotcky, a clinical psychologist who examined Swindle.
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Dr. Blotcky found that Swindle suffers from bipolar disorder and borderline

intellectual abilities, (R. 719–20), and exhibits moderate limitations in her abilities

to “[r]espond appropriately to coworkers,” “[u]se judgment in simple, one or two

step, work-related decisions,” “[u]se judgment in detailed or complex work-related

decisions,” “[u]nderstand, remember, and carry out simple, one or two-step

instructions,” “[u]nderstand, remember, and carry out detailed or complex

instructions,” and “[m]aintain activities of daily living,” and marked limitations in

her abilities to “[r]espond appropriately to coworkers,” “[r]espond appropriately to

customers or other members of the general public,” “[d]eal with changes in a

routine work setting,” “[r]espond to customary work pressures,” “[m]aintain

attention, concentration or pace for periods of at least two hours,” and “[m]aintain

social functioning,” (R. 723–24).

      As an initial matter, the Commissioner correctly notes that Dr. Blotcky’s

opinion, “as that of a one-time examiner, was not entitled to the deference due to a

treating medical source.” Doc. 14 at 10. See Crawford v. Comm’r, Soc. Sec., 363

F.3d 1155, 1160 (11th Cir. 2004) (ALJ properly concluded that physician’s

opinion was not entitled to great weight because he only examined claimant only

once). Moreover, the ALJ clearly explained his reasons for affording little weight

to Dr. Blotcky’s opinions, i.e., that although Dr. Blotcky’s diagnosis of bipolar

disorder is consistent with the treating source evidence, “the extreme limitations


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assigned to [Swindle] are contrary to the rest of the record, including consultative

and treating source records.” (R. 21; see, e.g., R. 303 (appropriate mood/affect,

memory, and rapport), 321 (“good” concentration and attention, able to subtract

serial 7s from 100), 672 (cooperative, “full” affect, “logical” thought process)).

The ALJ also cited Swindle’s reported activities — that she watches television,

listens to music, takes medication without help or reminders, prepares simple

meals, does laundry and other housework “all day every other day” without help or

encouragement, leaves her house every day, drives, ventures out alone, shops in

stores for groceries and clothes, can handle her own finances, and can follow

written instructions, (R. 173–78), — in finding that Dr. Blotcky’s opinion was not

consistent with the record. Finally, the ALJ found that “Dr. Blotcky’s diagnosis of

borderline intellectual abilities is inconsistent with [Swindle’s] attainment of a

GED and education records showing that [Swindle] functions in the low average

range of intelligence.” (Id.). (See, e.g., R. 286 (“average” intelligence estimate,

288 (no “intellectual” deficits noted), 303 (“average” intelligence impression), 672

(“average” intelligence”)).

      For these reasons, the court finds that the ALJ clearly articulated his reasons

for affording little weight to Dr. Blotcky’s opinions and that substantial evidence

supports the ALJ’s determination that Swindle possesses fewer limitations than Dr.

Blotcky’s report indicates.


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      C. The ALJ’s Finding that Swindle was Not “Disabled” Despite
         Evidence that Swindle Would Miss Work More than One Day Per
         Month

      Lastly, Swindle contends that the ALJ erred in “not finding [her] disabled

because she would miss work more than one day per month.” Doc. 13 at 11.

Relevant here, the ALJ determined that Swindle “might miss one to 2 days a month

from work due to impairment caused symptoms.” (R. 18). The court finds no

error, because the VE testified that “[a]nything in excess of two [absences] that

occurred on a consistent basis” would prevent Swindle from maintaining

employment.     (R. 67) (emphasis added).      Therefore, the ALJ’s conclusion is

consistent with the VE’s testimony.

                                  VI.   CONCLUSION

      For the foregoing reasons, the court concludes that the ALJ’s determination

that Swindle is not disabled and has the RFC to perform a full range of work at all

exertional levels with certain non-exertional restrictions is supported by substantial

evidence, and that the ALJ applied proper legal standards in reaching this

determination. Therefore, the Commissioner’s final decision is AFFIRMED. The

court will enter a separate order in accordance with this Memorandum Opinion.

      DONE the 5th day of May, 2017.


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                                                 ABDUL K. KALLON
                                          UNITED STATES DISTRICT JUDGE
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